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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


YOLANDA M. CARRILLO,
         Plaintiff,

       vs.                                                     CIV NO. 1:21-00232-SMV

KILOLO KIJAKAZI,
Acting Commissioner of Social Security,
           Defendant.



                                   ORDER FOR EXTENSION

       Upon consideration of Defendant’s Unopposed Motion for an Extension of Time

(Doc. 24) to file a response to Plaintiff’s Memorandum in Support of its Motion to Reverse (Doc.

23), the Court having reviewed the motion and being otherwise fully advised, FINDS that the

motion is well taken and is GRANTED.

       IT IS THEREFORE ORDERED that Defendant shall have until April 8, 2022, to file a

response, and Plaintiff shall have until April 22, 2022, to file a reply.

        SIGNED March 7, 2022.



                                               ___________________________________
                                               STEPHAN M. VIDMAR
                                               United States Magistrate Judge

SUBMITTED AND APPROVED BY:

Electronically submitted 03/04/2022
M. THAYNE WARNER
Special Assistant United States Attorney

Electronically approved 03/04/2022
BENJAMIN E. DECKER
Attorney for Plaintiff
